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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                            DEC 11 2024
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
ADAM RICHARDS, an individual; et al.,              No. 24-6940
                                                   D.C. No.
             Plaintiffs - Appellants,              8:23-cv-02413-JVS-KES
                                                   Central District of California,
  v.                                               Santa Ana
GAVIN NEWSOM, in his official capacity             ORDER
as Governor of the State of California; et al.,

             Defendants - Appellees.

       The motion (Docket Entry No. 7) for voluntary dismissal is granted. See

Fed. R. App. P. 42(b).

       This case is dismissed.

       This order serves as the mandate of the court.

                                                  FOR THE COURT:

                                                  MOLLY C. DWYER
                                                  CLERK OF COURT
